Order Form (01/2005)
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                              United States District Court, Northern District of Illinois

     Name of Assigned Judge           David H. Coar           Sitting Judge if Other
        or Magistrate Judge                                    than Assigned Judge

   CASE NUMBER                          10 C 5850                         DATE                     12/16/2010
            CASE                                Janicki vs. Portfolio Recovery Associates, LLC
            TITLE

  DOCKET ENTRY TEXT

  Pursuant to the Notice of Voluntary Dismissal [11], this action is dismissed. Civil case terminated.




                                                                                                             Docketing to mail notices.




                                                                                       Courtroom Deputy                PAMF
                                                                                                 Initials:




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